                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION


UNITED STATES OF AMERICA                      )
                                              )
v.                                            )          No. 3:10-00065
                                              )          JUDGE CAMPBELL
QUINCY MAURICE FUQUA                          )


                                          ORDER

       Pending before the Court is Defendant Fuqua’s Second Motion For an Evidentiary

Hearing (Docket No. 289). Through the Motion, the Defendant seeks an opportunity to present

evidence regarding Trial Exhibit 8E.

       The Motion is GRANTED. Accordingly, the Court will hold a hearing on April 24,

2013, at 1:00 p.m.

       It is so ORDERED.



                                                  _________________________________
                                                  TODD J. CAMPBELL
                                                  UNITED STATES DISTRICT JUDGE




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